Case No. 1:17-cv-01661-WJM-MEH Document 116-5 filed 03/09/18 USDC Colorado pg 1
                                    of 31




                           Exhibit 34
Case No. 1:17-cv-01661-WJM-MEH Document 116-5 filed 03/09/18 USDC Colorado pg 2
                                    of 31




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

  Civil Action No. 17-cv-1661-WJM-MEH
  Consolidated with 17-cv-1679-WJM-MEH

  SIERRA CLUB; ELYRIA AND SWANSEA NEIGHBORHOOD ASSOCIATION; CHAFFEE
  PARK NEIGHBORHOOD ASSOCIATION; and COLORADO LATINO FORUM,

  Plaintiffs,

  v.

  FEDERAL HIGHWAY ADMINISTRATION, ELAINE CHAO, in her official capacity as
  Secretary of Transportation; and JOHN M. CARTER, in his official capacity as Division
  Administrator, Defendants,

  v.

  COLORADO DEPARTMENT OF TRANSPORTATION, and SHAILEN P. BHATT, in his
  official capacity as Executive Director of the Colorado Department of Transportation,

  Defendant-Intervenors.
                                     EXHIBIT 34
                           DECLARATION OF JONATHAN HELLER
                                 (Case No. 17-cv-1679-WJM-MEH)

   ROBERT E. YUHNKE (CO Bar No. 12686)          GREGORY N. CORBIN (CO Bar No. 48468)
   4050 SE Hosner Terrace                       Milligan Rona Duran & King LLC
   Gresham, OR 97080                            1627 Vine St.
   (303) 499-0425                               Denver, CO 80206
   bob.yuhnke@prodigy.net                       Tel. 720-414-2000
                                                gnc@mrdklaw.com
   ANDREA S. GELFUSO (CO Bar No. 19773)
   2402 S. Holland Street
   Lakewood Co 80227
   (303) 955-1910
   agelfuso6@gmail.com                          COUNSEL FOR PETITIONERS
Case No. 1:17-cv-01661-WJM-MEH Document 116-5 filed 03/09/18 USDC Colorado pg 3
                                    of 31




                       DECLARATION OF JONATHAN !]E],I,FR


           I, Jonathan Heller, declare tlul the following facts are t.ue and conect, aDd

   are within my personal knowledge.


      1. Ifcalled as a witness,I could and would testiry competently to the facts

           stated herein. As to those mattes that refleci an opinioq they reflect my


           lersoMl opinion ddjudgment on the matler based on ihe years of

           educational and professional experience shown in my cuniculum vitae

           ("CV"), and explained further in the qualifications presented in the attached

           report.

      2.   A curenr veision ofmy CV is appended hereto as Altachment L

      3.   I am a citizen ofthe Uniled States and resident of BerkeLey, Califomia.

           I cu(ently am enployed Co-Director ofHwan lmpacr Partners (HIP), 0

           non-profit company working to provide resources and tools to inform publ;c

           decisionmaking regarding the oppotunities for desisnins public lolicies and

           progmms ro enhan.e communny healrh. and ro empower communiries to

           udersled how health cd be integmted into public decisiomaking to

           enhance community well-being.
Case No. 1:17-cv-01661-WJM-MEH Document 116-5 filed 03/09/18 USDC Colorado pg 4
                                    of 31




         s. 1 emed aB-A., c tu lail /e, desree in apllled mathematics from Harvard

            Univereily (1989), dd aPh.D. inbiophysics from the University of

            Califomia. Berkeley ( 1997).

         6. I have played a leading role in the developmenl ofHealth Impact

            Assess'nem ("HiA") as a decisionmaking tool in the United States.

         7. I have participaled inthe application ol HIA methodolosies ad procedures

            on behalfofsovemment asencies and community organizadons who have

            an interest in understanding the implicatioN ihat lublic decisions will lave

            on community healtlr

         8. I have participated in the preparation ofHIAs for nwerous assessments of

            policies. progams and projects, includins transportation projects. I am the

            co-aulhor ofaHiA prepared for the expdsion ofthe I-710 expressway

            linking the ports oflos Angeles ald LoDg Beach to intermodal

            transportation hubs thrcughout the Los Angeles basin.

         9. I have co-authored widely cited snidance for HIA pmctioneis, including:
            lhnituuu Flcnent. akd hatti.. Stahdotdt Jor Heatth lh.pdct Atsessheht

            and Prahoti"g Equity thiough the Ptu.tne ol Hpolth Iaro.t Astpt'n?nt-)



   I
       Bhaiia R, Farhans L, Hel er J, Lee M Orenst€in M Richard$n M aid wenhan A eA14l Mininm
   Elenents and Paatiae Shndatls fq Heallh lwact A*ssftn4 v.Btan
                                          J-e sr! a-Pra(ce.sd_oa o< s-pETo-' 20,!por
                                          G.oLo o'l\e 20t0 ! A lrheAre'ca(wo'.s-op (20!.) a"q
   Preatiaes bt S,zkehaldet Pediwation h tlatth lnpad Asassneht a
   R€lre ved rrcm: h tios r/h a soc elv oroTresou rces/p ocu me nlts uid e irnsra ke hord erp a dicioat oa pd t
Case No. 1:17-cv-01661-WJM-MEH Document 116-5 filed 03/09/18 USDC Colorado pg 5
                                    of 31




          I0. I co-founded and served as the firct President ofthe Society of Praciitioners

             ofHealth Impact Assesment (SOPHIA). SOPHIA is u association of

             individuats and organizaiions providing leadership and promoting excellerce

             in the praclice ofhealrh impact asessmeni wirh world-wide nemb€rship. In

             that capaciry lhelped advance the pdnciples and methodologies that are now

             applied in ihe practice ofHlA.

          I 1 . At the request ofrhe Sierra Club, I prepared the rep ott Hedlth Itupact


             Assesshekr: A Tool To S pport Decisio Makikg For Tranvortation

             Proje.s (M ch 1,2018). A nle and corccrcopy ofrhe report is anached

             hereto as Attachment A, and incorporated he.eiD by reference.

         12. This repot has been preparcd at the request ofrhe Petitioners to assist the


             Courl in understanding what analytical lrinciples md procedures are

             implemented when a HIA is perfomed, and the role that HIA can play in

             helping decision makers understand the health slatus ofcommunilies, how

             that health status may be affected, for the betler or the woree, by prog.ams,

             projects or actions proposed by agencies or privale actors, and how to assess

             alternarives or mirigalion stlategies with respect to nininizing adverse

             impacts or restoring andenhancing communiry health.



   3
       Neller J, MalekaEali S, Todman LC, and Wer M (201E. PmorrrO Eq ritr thhrgh ke P6ctice at
   HerX'            Xssassrerr Relrcrved f6m: hlpsr/rr ia s dc e1y otorresou rces/poou men ItH rA,F rom orns.
            'np.c'
Case No. 1:17-cv-01661-WJM-MEH Document 116-5 filed 03/09/18 USDC Colorado pg 6
                                    of 31



      I declare pursuant ro 28 U.S.C. $ 1746, subj ect to the penalry of perjury under

      the laws ofthe United States, that rie above stated facts, and the facts staled in

      the leport attached hereto, incorpoEted herein and identified as Attachment A,

      ale true and con€ct !o the best ofmy knowledge md belief


                Executed atOaklaDd, Californi., this dday ofMarch,20r8.
Case No. 1:17-cv-01661-WJM-MEH Document 116-5 filed 03/09/18 USDC Colorado pg 7
                                    of 31




                      Exhibit 34
                    Attachment – 1
   Case No. 1:17-cv-01661-WJM-MEH Document 116-5 filed 03/09/18 USDC Colorado pg 8
                                       of 31


                                        Jonathan C. Heller
                                        304 12th Street, Suite 2B
                                           Oakland, CA 94607
                                           (510) 452 9442 (o)
                                         jch@humanimpact.org

Education
   University of California                                                                Berkeley, CA
   1993 - 1997. Ph.D., Biophysics.

   Harvard University                                                                    Cambridge, MA
   1985 - 1989. B.A., Cum Laude, Applied Mathematics.

Experience
   Human Impact Partners                                                         Co-Director & Co-Founder
   2006 – Present. HIP, a non-profit, is working to transform the policies and places people need to live
   healthy lives by increasing the consideration of health and equity in decision making. Through
   research, advocacy, and capacity building, HIP brings the power of public health science to
   campaigns and movements for a just society.

   Responsibilities
   • Oversee and guide the organization and its strategic direction;
   • Build relationships with partnering organizations including community organizations and public
      agencies;
   • Built awareness among elected officials and the general public regarding the connections
      between health and policy;
   • Guide HIP’s Health Impact Assessments (HIAs) and other public health research projects;
   • Conduct HIA training and mentoring;
   • Grant writing and other fundraising;
   • Overseeing day-to-day operations of HIP and organizational development;
   • Personnel management.

   Accomplishments
   • Human Impact Partners has established itself as a nationally recognized authority in the field of
      Health Impact Assessment and has become known for our focus on equity and community
      empowerment;
   • Built relationships and secured funding for carrying out HIAs and similar projects across the
      country and at the federal level;
   • Built HIP to a staff of 13 FTEs;
   • Completed over twenty HIA and Health in All Policies projects on a variety of policies, including
      those related to criminal justice, economic security, education, and built environment;
   • Influenced project, planning, and policy decisions in ways that will improve health and reduce
      inequities;
   • Conducted over 20 HIA trainings and provided technical assistance to over 15 organizations,
      nation-wide, conducting HIAs.

   Society of Practitioners of Health Impact Assessment (SOPHIA)                             President
   2011 – 2015. SOPHIA is an association of individuals and organizations providing leadership and
   promoting excellence in the practice of health impact assessment with world-wide membership. I
   helped found SOPHIA and served as its first President. SOPHIA currently has over 500 members and
   offers a variety of services to those members.

   Predicant Biosciences                                Vice President, Information and Project Planning
   2002 – 2005.
   Case No. 1:17-cv-01661-WJM-MEH Document 116-5 filed 03/09/18 USDC Colorado pg 9
                                       of 31



   SurroMed
   2000 – 2002.                                                                          Director, Informatics

   Exelixis
   1999 – 2000.                                                                        Research Scientist II
   1998 – 1999.                                                                        Research Scientist I
   1997 – 1998.                                                              Associate Research Scientist II

   Peace Corps, Papua New Guinea                                                              Volunteer
   1990 – 1992. Taught high school science and mathematics. Chaired science department.
   Supervised dormitories for 150 boarding students. Raised funds and initiated construction of school
   water supply. Had chloroquine-resistant malaria twice.

Awards
  1993 – 1997. Howard Hughes Medical Institute Predoctoral Fellow
  1993. National Science Foundation Fellowship (declined)
  1987 and 1989. Harvard College Scholarship

Selected Publications
   J. Heller, R. Larsen, A.C. Kolbert, M. Ernst, M. Baldwin, S.B. Prusiner, D.E. Wemmer, A. Pines.
   (1996) Application of rotational resonance to inhomogenously broadened systems. Chem. Phys.
   Lett., 251, 223.

   J. Heller, A.C. Kolbert, R. Larsen, M. Ernst, T. Bekker, M. Baldwin, S.B. Prusiner, A. Pines, D.E.
   Wemmer. (1996) Solid-state NMR studies of the prion protein H1 fragment. Protein Science, 5, 1655.

   J. Heller, D.D. Laws, M. Tomaselli, D.S. King, D.E. Wemmer, A. Pines, R.H. Havlin, E. Oldfield.
   (1997) Determination of dihedral angles in peptides through experimental and theoretical studies of a-
   carbon chemical shielding tensors. JACS, 119, 7827.

   J. Heller, A. Heller. (1998) On the loss of activity or gain in stability of oxidases upon their
   immobilization in hydrated silica: significance of the electrostatic interactions of surface arginine
   residues at the entrances of the reaction channels. JACS, 120, 4586.

   A.P. Sassi, F. Andel, H.M. Bitter, M.P. Brown, R.G. Chapman, J. Espiritu, A.C. Greenquist, I. Guyon,
   M Horchi-Alegre, K.L. Stults, A. Wainright, J.C. Heller, J.T. Stults. (2005) An automated, sheathless
   capillary electrophoresis-mass spectrometry platform for the discovery of biomarkers in human
   serum. Electrophoresis, 16, 1500.

   P. de Valpine, H.M. Bitter, M.P. Brown, J.C. Heller. (2009) A simulation-approximation approach to
   sample size planning for high-dimensional classification studies. Biostatistics. 10, 424.

   E.C. Harris, A. Lindsey, J.C. Heller, K. Gilhuly, M. Williams, B. Cox, J. Rice. (2009) Humboldt County
   General Plan Update Health Impact Assessment: A Case Study. Environmental Justice, 2, 127.

   J.C. Heller, S. Satinsky, J. Lucky, B. Dennison. (2014) Where Health, Planning, and Community
   Empowerment Meet: A Rapid Health Impact Assessment Model and its Application in Los Angeles.
   Critical Planning, 21, 65.

   J.C. Heller, M.L. Givens, T.K. Yuen, S. Gould, M. Benkhalti Jandu, E. Bourcier, T Choi. (2014)
   Advancing Efforts to Achieve Health Equity: Equity Metrics for Health Impact Assessment Practice.
   Int. J. Environ. Res. Public Health, 11(11), 11054-11064.
Case No. 1:17-cv-01661-WJM-MEH Document 116-5 filed 03/09/18 USDC Colorado pg 10
                                    of 31




                      Exhibit 34
                    Attachment – A
Case No. 1:17-cv-01661-WJM-MEH Document 116-5 filed 03/09/18 USDC Colorado pg 11
                                    of 31




                              Health Impact Assessment:
             A Tool To Support Decision Making For Transportation Projects
                                     March 1, 2018


                                              By:
                                      Jonathan Heller, Ph.D.


   Introduction
   This report has been prepared at the request of the Petitioners to assist the Court in
   understanding what analytical principles and procedures are implemented when a
   Health Impact Assessment (HIA) is performed, and the role that HIA can play in helping
   decision makers understand the health status of communities, how that health status
   may be affected, for the better or the worse, by programs, projects or actions proposed
   by agencies or private actors, and how to assess alternatives or mitigation strategies
   with respect to minimizing adverse impacts or restoring and enhancing community
   health. This testimony reviews the development of HIA as a decision-making tool during
   the last decade, and its applicability to transportation decision making. Notably this
   development includes the adoption by the Federal Highway Administration and the U.S.
   Department of Transportation of policies and guidelines that recognize the value of this
   methodology as a decision-making tool, and encourage application of the analytical
   approaches used in HIA for decision making in the transportation context. These
   analytical approaches are highly appropriate for assessing health impacts in the I-70
   context, but despite public comments requesting that HIA be included in the review of I-
   70 Project impacts and the evaluation of alternatives and mitigation, the analytical
   approaches inherent in HIA have not been applied in this case.

   Background and Qualifications
   I am Co-Founder of Human Impact Partners (HIP). HIP is a recognized national leader
   in the field of Health Impact Assessment. We co-founded and have led the Society of
   Practitioners of Health Impact Assessment and have co-authored widely cited guidance
   for the field, including: Minimum Elements and Practice Standards for Health Impact
   Assessment;1 Guidance and Best Practices for Stakeholder Participation in Health




   1
    Bhatia R, Farhang L, Heller J, Lee M, Orenstein M, Richardson M and Wernham A. (2014). Minimum
   Elements and Practice Standards for Health Impact Assessment, Version 3. Retreived from:
   https://hiasociety.org/resources/Documents/HIA-Practice-Standards-September-2014.pdf


                                                                                                     1
Case No. 1:17-cv-01661-WJM-MEH Document 116-5 filed 03/09/18 USDC Colorado pg 12
                                    of 31




   Impact Assessments;2 and Promoting Equity through the Practice of Health Impact
   Assessment.3

   I served as HIP’s first Executive Director from 2006 to 2012, and since have served as
   one of its two Co-Directors. Under my leadership, HIP has become a national leader in
   research and capacity building focused on policies that enhance the social and
   environmental determinants of health. Our work is commited to empowering
   communities by helping them access the data, analytical tools and capacity to advance
   policies and measures that will enhance community health and well-being. Since co-
   founding HIP, I have worked with government agencies, community groups, and others
   to use a public health lens to advance policy change in criminal justice, economic
   security, education, immigration, housing and transportation. I provide training and
   technical assistance on Health Impact Assessment and Health in All Policies, and
   support public health departments to develop leadership and capacity to advance
   community health.

   I served as President of the Society of Practitioners of Health Impact Assessment
   (SOPHIA) from 2011 to 2015.

   Human Impact Partners provides tools that empower communities to transform the
   places people live and play to support healthy living by increasing community
   awareness of social and environmental factors that diminish or impair health, and
   identifying policies and practices that are available to enhance and promote health in
   decision making. We have conducted public health research projects, including HIA and
   Health in All Policies projects, on the local, state and federal levels – with experience
   supporting communities across the country from Hawaii to Maine. Findings from our
   research and our recommendations have been applied by decision makers to integrate
   health benefits into policymaking, planning, and project design and implementation. To
   date, HIP has conducted over 50 HIA projects in many domains, including
   transportation and land use. We have also provided training and technical assistance to
   government agencies and non-governmental organizations in over 30 states as they
   conduct their first HIAs. HIP has successfully assisted these partners as they apply the
   HIA process to identify potential health benefits, and develop policies to improve health
   and reduce health inequities.



   2
     Stakeholder Participation Working Group of the 2010 HIA in the Americas Workshop. (2011). Best
   Practices for Stakeholder Participation in Health Impact Assessment. Oakland, CA, October 2011.
   Retreived from: https://hiasociety.org/resources/Documents/guide-for-stakeholder-participation.pdf
   3
     Heller J, Malekafzali S, Todman LC, and Wier M. (2013). Promoting Equity through the Practice of
   Health Impact Assessment. Retreived from: https://hiasociety.org/resources/Documents/HIA-Promoting-
   Equity.pdf


                                                                                                         2
Case No. 1:17-cv-01661-WJM-MEH Document 116-5 filed 03/09/18 USDC Colorado pg 13
                                    of 31




   Definition and Background of Health Impact Assessment
   HIA is a decision support tool that provides a methodology for factoring evidence-based
   health considerations into a decision-making process. It provides evidence of adverse
   health outcomes and the factors present in a community that contribute to adverse
   health outcomes that can be used by decision makers to identify actions and policies
   that will protect and promote health and reduce adverse health outcomes. HIA is
   defined by the National Research Council as a “systematic process that uses an array
   of data sources and analytic methods, and considers input from stakeholders to
   determine the potential effects of a proposed policy, plan, program, or project on the
   health of a population and the distribution of those effects within the population. HIA
   provides recommendations on monitoring and managing those effects.”4

   HIA promotes a broad definition of health in line with the World Health Organization’s
   understanding of health as achieving a state of complete physical, mental, and social
   well-being that is greater than the absence of disease or infirmity.5 The HIA process
   provides evidence-based recommendations to eliminate or minimize disproportionate
   health effects, avoid or mitigate potential adverse effects, and amplify potential health
   benefits of a proposed decision.

   HIA is a decision-making procedure designed to integrate five internationally recognized
   principles: democracy, equity, sustainable development, the ethical use of evidence,
   and a comprehensive approach to health.6 These principles are accomplished through
   procedures that are either required by the National Environmental Policy Act (NEPA), or
   consistent with the policies and procedures embedded in NEPA. Quigley, et al. define
   these principles as follows:7

           Democracy - emphasizing the right of people to participate in the formulation making of
           proposals and making decisions that affect their life, both directly and through elected
           decision makers. In adhering to this value, the HIA should involve and engage the public
           by making available and comprehensible relevant information about health, and by
           informing decision makers of the health consequences of available policies and
           programs and project alternatives.




   4
     National Research Council. (2011). Improving Health in the United States: The Role of Health Impact
   Assessment. Washington, D.C.: The National Academies Press.
   5
     World Health Organization. (1946). Constitution Of The World Health Organization. Retrieved from:
   http://apps.who.int/gb/bd/PDF/bd47/EN/constitution-en.pdf?ua=1
   6
     Quigley, R., den Broeder, L., Furu, P., Bond, A., Cave, B. & Bos, R. (2006). Health Impact Assessment.
   International Best Practice Principles. Special Publication Series Number 5, International Association for
   Impact Assessment: Fargo USA.
   7
     Ibid.


                                                                                                            3
Case No. 1:17-cv-01661-WJM-MEH Document 116-5 filed 03/09/18 USDC Colorado pg 14
                                    of 31




          Equity - emphasizing the desire to reduce inequity that results from avoidable
          differences in the health determinants and/or health status within and between different
          population groups. In adhering to this value, HIA should consider the distribution of
          health impacts across populations, paying specific attention to vulnerable groups and
          recommend ways to improve the proposed development for affected groups.

          Sustainable development - emphasizing that development meets the needs of the
          present generation without compromising the ability of future generations to meet their
          own needs. In adhering to this value, the HIA method should judge short- and long-term
          impacts of a proposal and provide those judgments within a time frame to inform
          decision makers.

          Ethical use of evidence - emphasizing that transparent and rigorous processes are used
          to synthesize and interpret the evidence, that the best available evidence from different
          disciplines and methodologies is utilized, that all evidence is valued, and that
          recommendations are developed impartially. In adhering to this value, the HIA method
          should use evidence to judge impacts and inform recommendations; it should not set out
          to support or refute any proposal, and it should be rigorous and transparent.

          Comprehensive approach to health - emphasizing that physical, mental and social well-
          being is determined by a broad range of factors from all sectors of society (known as the
          wider determinants of health). In adhering to this value, the HIA method should be
          guided by the wider determinants of health.

   Milestones of HIA in the United States and Colorado
   HIA has been used worldwide. Long established in Europe, Australia, and New
   Zealand, in more recent decades it has gained momentum in the U.S., including in
   Colorado. The first HIA in the U.S. was completed in 1999. As of 2017, there were 422
   HIAs completed or in progress in the U.S.

   Major steps in setting the stage for HIA in the U.S. and in Colorado include:
     ● In 1969, NEPA required that environmental effects be evaluated in any “major
         federal action significantly affecting the quality of the human environment”.8
     ● In 1999, a regional office of the World Health Organization released a consensus
         paper identifying core principles of HIA and creating common understanding of
         HIA practice.9 That same year the San Francisco Department of Public Health
         conducted the first HIA in the U.S.

   8
     Dannenberg, AL. (October 2016). A brief history of health impact assessment in the United States.
   Chronicles of Health Impact Assessment;1(1). Retrieved from:
   https://journals.iupui.edu/index.php/chia/article/view/21348/20635
   9
     European Centre for Health Policy. Health impact assessment: main concepts and suggested approach.
   Gothenburg consensus paper. Brussels: WHO European Centre for Health Policy. 1999. Retrieved from:
   http://www.impactsante.ch/pdf/HIA_Gothenburg_consensus_paper_1999


                                                                                                     4
Case No. 1:17-cv-01661-WJM-MEH Document 116-5 filed 03/09/18 USDC Colorado pg 15
                                    of 31




        ● In 2007, the first HIA in Colorado was completed, examining the proposed
          redevelopment of the Derby District in Colorado's Commerce City commercial
          core.
        ● In 2008, a working group released the first version of HIA practice standards
          specifically for the U.S. That same year, the Washington State legislature
          required an HIA for a bridge replacement -- the first required HIA in the U.S.
        ● In 2009, the Massachusetts legislature required HIA specifically for certain kinds
          of transportation projects.
        ● In 2014, Denver City Council called for making HIAs a standard component of all
          neighborhood plans, and to budget accordingly for them.

   Federal Agency Support for HIA as Decision-making Tool
   The U.S. Department of Transportation (U.S. DOT) and U.S. Environmental Protection
   Agency (EPA) are among the federal agencies that call for including a robust,
   systematic approach to assessing impacts on public health and that identify HIA or the
   principles and analytical methods embedded in HIA as an appropriate tool to support
   decision making.

   The U.S. DOT has undertaken an extended investigation of methods and tools for
   integrating health into transportation decision making. Beginning with an inter-
   administration working group first assembled in 2012, U.S. DOT acknowledged that
   “Transportation can affect human health, either positively or negatively….”, and that “Air
   Quality” is a critical factor: “Transportation planning that reduces vehicle emissions
   improves air quality for everyone. The populations that benefit most from cleaner air are
   children, older adults, and individuals with respiratory diseases.”10 FHWA explained that
   “[s]everal public health considerations, like air quality and safety, are routinely
   addressed through the planning and NEPA project development process, and these are
   important considerations that guide project design.”11

   In its 2014 FAQ, FHWA announces the development of a “Framework for Health in
   Corridor Transportation Planning.” “The goal for this framework is to provide information
   that transportation professionals need to incorporate health into their corridor planning
   process.”12 The Framework provides guidance specifically aimed at addressing health in
   the context of corridor projects.13 The Framework directs decision makers “to


   10
      U.S. Department of Transportation website. Retrieved from:
   https://www.fhwa.dot.gov/planning/health_in_transportation/faq/faq.pdf
   11
      Id., p.2.
   12
      See FAQ 9, p.5.
   13
      U.S. Department of Transportation website. Retrieved from:
   https://www.fhwa.dot.gov/planning/health_in_transportation/planning_framework/the_framework/fhwahep
   16014.pdf


                                                                                                     5
Case No. 1:17-cv-01661-WJM-MEH Document 116-5 filed 03/09/18 USDC Colorado pg 16
                                    of 31




   understand how incorporating health will impact the transportation priorities and
   investments. Goal setting can formalize the intent to incorporate health.”14

   To understand how incorporating health will impact transportation decisions, the
   Framework poses questions for decision makers to answer:

          What is the full range of strategies to address the needs and priorities identified for the
          corridor? Which strategies are most relevant to the transportation needs? Which
          strategies support desirable health outcomes? Which strategies address both the
          transportation needs and the desired health outcomes? Which strategies will be
          evaluated? What is potential impact of the desired health outcome on the
          community/target population? Can the health outcome be measured quantitatively? If
          not, how will it be evaluated? Is the desired health outcome needed by the corridor
          population? Do they care about this outcome? Does the desired health outcome address
          health disparities among the population in this corridor? How long will it take
          transportation interventions to result in measurable health change? Can health impacts
          on individual population groups be measured? If so, who will be responsible measuring?
          How will the information collected be used?15

          How will health in the community change if this alternative is implemented? How much
          change is anticipated and over what timeframe? Do the alternatives meet the needs of
          specific population groups? Do the alternatives disproportionally affect (positively or
          negatively) the health of specific population groups?16

   These questions establish a framework for assessing health impacts under NEPA.
   Answering these questions requires an investigation that HIA is designed to answer.
   U.S. DOT also developed a “Transportation and Health Tool (THT) – Cleaner Air.”17 The
   Health Tool18 references HIA as an available methodology for transportation projects to
   pursue in an effort to improve health, and provides HIA resources and examples.19

   In 2015 the EPA’s Office of Federal Activities advised regions to urge the use of HIA as
   a tool to fulfill NEPA obligations to consider health. EPA stated:20


   14
      Id., p. 14.
   15
      Id., p. 25.
   16
      Id., p. 29.
   17
      U.S. Department of Transportation website. Retrieved from:
   https://www.transportation.gov/mission/health/cleaner-air
   18
      U.S. Department of Transportation website. Retrieved from:
   https://www.transportation.gov/mission/health/proximity-major-roadways
   19
      U.S. Department of Transportation website. Retrieved from:
   https://www.transportation.gov/mission/health/Health-Impact-Assessment
   20
      Bromm, SE. (November 10, 2015). Promoting the Use of Health Impact Assessment to Address
   Human Health in Reviews Conducted Pursuant to the National Environmental Policy Act and Section 309


                                                                                                     6
Case No. 1:17-cv-01661-WJM-MEH Document 116-5 filed 03/09/18 USDC Colorado pg 17
                                    of 31




        The practice of HIA has been seen as a way to not only enhance human health
        considerations in the NEPA process, but also ensure considerations of
        environmental justice and children’s health (as called for in Executive Orders
        12898 and 13045) due to its ability to:
             ● Provide the lead agencies and other stakeholders with information on the
                potential health effects of a proposed action and its alternatives, through
                the broad considerations of impacts to health and health determinants and
                deliberative engagement of community members and other stakeholders
                throughout the HIA process;
             ● Identify disproportionate human health and/or environmental health
                effects, including high and adverse impacts, of a proposed action and its
                alternatives on minor and tribal populations, low-income populations, and
                vulnerable populations, such as children and the elderly, and develop
                recommendations to address those effects; and
             ● Develop recommendations to promote the health benefits of a proposed
                action and its alternatives and/or mitigate against potential negative health
                impacts before the action is implemented.

   In 2008, EPA Region 9 requested that the California Department of Transportation
   conduct an HIA in planning an expansion to Interstate 710 (1-710) Corridor Project in
   Los Angeles County, California. In its explanation, the EPA cited the value of HIA in
   considering more complex health impacts and those to low-income and minority
   communities, which may go unexamined in other assessment tools, stating:

          Low-income and minority communities are potentially experiencing more
          health impacts than would be predicted using traditional risk assessments. An
          HIA is a potential tool for examining this complex issue. HIAs look at health
          holistically, considering not only biophysical health effects, but also broader
          social, economic, and environmental influences. HIAs also explicitly focus on
          health benefits and the distribution of health impacts within a population. HIAs
          strive to anticipate potential impacts for decision-makers and to deliver a set
          of concrete recommendations targeted at minimizing health risks and
          maximizing benefits.

          EPA recently recommended that the Ports of Los Angeles and Long Beach
          consider development of port-wide HIAs. Given the magnitude and
          complexity of potential health impacts related to Port projects and the critical
          role the 1-710 Corridor serves accommodating freight traffic to and from the
          Ports, EPA recommends that Caltrans partner with the Ports, the Army Corps


   of the Clean Air Act. [Memorandum]. Washington, DC: U.S. Environmental Protection Agency. Retrieved
   from: https://www.epa.gov/sites/production/files/2016-03/documents/hia_memo_from_bromm.pdf



                                                                                                         7
Case No. 1:17-cv-01661-WJM-MEH Document 116-5 filed 03/09/18 USDC Colorado pg 18
                                    of 31




          of Engineers, the local health department and the local community to conduct
          an HIA which encompasses this project and all upcoming Port expansion
          projects.

   HIA and NEPA
   When enacting NEPA, Congress emphasized protecting and enhancing public health as
   one of its goals. To fulfill these health goals, agencies need a tool to assess and weigh
   the impacts that federal actions will have on health. HIA provides a tool for integrating
   health into the review of impacts on the human environment.

   In “Public Health Analysis Under the National Environmental Policy Act”, 21 Wernham
   and Bear discuss the statutory and regulatory context for assessing health impacts:

          The inclusion of a robust, systematic approach to public health is supported by several
          sources that include: NEPA, regulations issued by the Council on Environmental Quality
          (CEQ) – the agency in the Executive Office of the President charged with overseeing
          implementation of NEPA – Executive Orders 12898 and 13045, and available guidance
          on NEPA and environmental justice.

          Congressional Intent of NEPA
          In using the term “human environment,” Congress signaled that protection of human
          communities was a fundamental purpose of the legislation. In the debates leading to
          NEPA’s enactment, Senator Henry Jackson said, “When we speak of the environment,
          basically, we are talking about the relationship between man and these physical and
          biological and social forces that impact upon him. A public policy for the environment
          basically is not a public policy for those things out there. It is a policy for people.”

          Health in NEPA
          NEPA mentions health a total of six times. These include the following:
             ● Among NEPA’s fundamental purposes is: “promote efforts which will prevent or
                 eliminate damage to the environment and biosphere and stimulate the health and
                 welfare of man.” NEPA § 102 [42 USC § 4321]
             ● NEPA is intended, furthermore, to: “assure for all Americans safe, healthful,
                 productive, and aesthetically and culturally pleasing surroundings.” [42 USC §
                 4331]
             ● And finally to: “attain the widest range of beneficial uses of the environment
                 without degradation, risk to health or safety, or other undesirable and unintended
                 consequences.” [42 USC § 4331]

          Health in the CEQ Regulations

   21
     Wernham, A and Bear, D. (January 2010) “Public Health Analysis Under The National Environmental
   Policy Act.”



                                                                                                       8
Case No. 1:17-cv-01661-WJM-MEH Document 116-5 filed 03/09/18 USDC Colorado pg 19
                                    of 31




         Several general provisions of CEQ’s NEPA regulations support the inclusion of health.

         First, agencies respond to substantive public concerns in the Draft Environmental Impact
         Statement (DEIS) [40 CFR § 1503.4]. When, therefore, an agency can anticipate
         substantive health concerns based on scoping, it is sensible to include these issues for
         analysis in the DEIS.

         Second, in determining whether an effect may qualify as “significant” (and therefore
         require analysis in an EIS) one of the factors that agencies should consider is “the
         degree to which the effects on the human environment are likely to be highly
         controversial” [40 CFR § 1508.27 (b) 4]. Commonly, health often figures among the
         strongest concerns expressed by affected communities.

         The CEQ regulations also specifically define health as one of the effects that must be
         considered in an EIS or its preceding Environmental Assessment. In defining “effects,”
         the regulations say, “Effects includes ecological, aesthetic, historic, cultural, economic,
         social, or health, whether direct, indirect, or cumulative.” [40 C.F.R. § 1508.8] And, the
         regulations instruct agencies to consider “the degree to which the proposed action
         affects public health or safety” in determining significance. [40 C.F.R. § 1508.27]

         Health in Executive Orders
         Executive Order 12898 instructs agencies to: “make achieving environmental justice part
         of its mission by identifying and addressing, as appropriate, disproportionately high and
         adverse human health or environmental effects of its programs, policies, and activities
         on minority populations and low-income populations in the United States.”

         Similarly, Executive Order 13045 states that agencies must: “make it a high priority to
         identify and assess environmental health risks and safety risks that may
         disproportionately affect children; and ... shall ensure that its policies, programs,
         activities, and standards address disproportionate risks to children that result from
         environmental health risks or safety risks.”

         Statements relevant to NEPA-based health analysis in Federal Guidance
         CEQ guidance on implementing Executive Order 12898 contains several suggestions
         relevant to public health analysis, including:
             ● Lead agencies should involve public health agencies and clinics
             ● Agencies should review relevant public health data (as with any resource)
             ● Agencies should consider how interrelated cultural, social, occupational,
                historical, or economic factors may contribute to health effects of the proposed
                action and alternatives.

   HIA Differs From Other Health Assessment Tools
   HIA is different from other forms of stand-alone assessment and forecasting methods
   that may be used within a HIA.


                                                                                                       9
Case No. 1:17-cv-01661-WJM-MEH Document 116-5 filed 03/09/18 USDC Colorado pg 20
                                    of 31




   HIA is designed to provide a comprehensive analysis of health, including baseline
   health status and likely causes of adverse health outcomes, identifying disparate
   outcomes among communities or groups, evaluating impacts of a proposed action, and
   assessing the impacts and benefits of alternatives and mitigation.

   Health Risk Assessment
   Health Risk Assessment (HRA), as practiced, is a quantitative analytic method used to
   characterize the nature and magnitude of health risks associated with exposures to
   chemical contaminants and other environmental substances and processes. HRA is
   limited to characterizing cause and effect relationships. HRAs typically analyze discrete
   relationships between exposure to a single environmental contaminant (e.g., diesel) and
   a single health outcome (e.g., lung cancer). Health risk assessment conclusions can be
   used within HIA to forecast effects of specific exposures, but do not provide sufficient
   information about health impacts to make well-informed decisions.

   Community Health Assessment
   According to the National Association of County and City Health Officials (NACCHO),22
   a “community health assessment is a process that uses quantitative and qualitative
   methods to systematically collect and analyze data to understand health within a
   specific community.” Community Health Assessment (CHA) is not a forecasting tool that
   makes predictions about the impacts of a proposed project, plan, or policy. Data from a
   CHA can be used in the assessment phase of an HIA to describe baseline community
   health conditions. The disparate health outcomes reported by the Denver Department of
   Environmental Health (DEH) for the residents for Globeville, Elyria and Swansea
   bordering I-7023 provides the data a community health assessment would provide.
   FHWA recognized its value when it acknowledged in the Final EIS for the I-70 Project
   that the DEH report adequately described the health status of the affected community.
   Health status provides baseline data that serves as the starting point for an HIA, but is
   not a substitute for assessing the changes in health status that will result from a
   proposed action.




   22
      National Association of County and City Health Officials website. Retrieved from:
   http://archived.naccho.org/topics/infrastructure/community-health-assessment-and-improvement-
   planning/upload/Definitions.pdf
   23
      City and County of Denver, Department of Public Health and Environment. (2018). Health Impact
   Assessment. Retrieved from: https://www.denvergov.org/content/denvergov/en/environmental-
   health/community-health/health-impact-assessment.html


                                                                                                      10
Case No. 1:17-cv-01661-WJM-MEH Document 116-5 filed 03/09/18 USDC Colorado pg 21
                                    of 31




   Overview of the HIA Process
   In addition to guidance from the World Health Organization, the field of HIA in the U.S.
   uses the Minimum Elements & Practice Standards for Health Impact Assessment,24
   (Practice Standards) guidelines developed by a workgroup of expert HIA practitioners in
   the U.S. The document, now in its third iteration, identifies the essential elements that
   constitute an HIA and sets benchmarks for how an HIA can best be conducted. It
   describes 8 overarching standards, including for the process overall and for each step
   of HIA.

   A typical HIA has the following 6 steps:
       1. Screening – Determine the value and need for HIA
       2. Scoping – Clarify and prioritize issues to focus on in the HIA, methods for
          analysis, and a work plan
       3. Assessment – Two parts that include: a) Conducting research on existing (i.e.,
          baseline) conditions; b) Identifying the effects of the project, plan, or policy on
          health
       4. Recommendations – Identify actions to address any harms identified
       5. Reporting – Write a report and communicate its findings and recommendations
       6. Monitoring & Evaluation – Track how the HIA affected decision-making
          processes, the actual decision, and effects of the project on health

   The Assessment Step of HIA
   In the Assessment step, the Practice Standards call for a summary of current conditions
   and an assessment of how those conditions would change if the project were
   implemented as planned:

          4.1 Assessment should include, at a minimum, a summary of existing (baseline)
          conditions and an assessment of health impacts.
          4.2 Existing conditions should present a profile of relevant health status and health
          determinants among the affected communities. The existing conditions should also
          document known population health vulnerabilities including evidence of poor health
          status among affected communities.

   HIAs identify baseline adverse health outcomes relevant to the proposal being
   analyzed, and distinguish proposal-related health outcomes from outcomes related to
   other factors that may shape health.




   24
      Bhatia R, Farhang L, Heller J, Lee M, Orenstein M, Richardson M and Wernham A. Minimum Elements
   and Practice Standards for Health Impact Assessment, Version 3. September, 2014. Retrieved from:
   https://hiasociety.org/resources/Documents/HIA-Practice-Standards-September-2014.pdf


                                                                                                  11
Case No. 1:17-cv-01661-WJM-MEH Document 116-5 filed 03/09/18 USDC Colorado pg 22
                                    of 31




   The Practice Standards also call for practitioners to use the best available evidence to
   fulfill the existing conditions and prediction aspects of Assessment, which may include
   both qualitative and quantitative methods. Specifically, the Practice Standards say:

           4.3 Assessment of health impacts should be based on a synthesis of the best available
           evidence. This means:
                  4.3.1 Evidence considered may include existing data, empirical research,
                  professional expertise and local knowledge, and the products of original
                  investigations.
                  4.3.2 When available, practitioners should utilize evidence from well-designed
                  and peer-reviewed systematic reviews.
                  4.3.3 HIA practitioners should consider evidence both supporting and refuting
                  particular health impacts.
                  4.3.4 The expertise and experience of affected members of the public (local
                  knowledge), whether obtained via the use of participatory methods, collected via
                  formal qualitative research methods, or reflected in public testimony, comprise a
                  legitimate source of evidence.

   When making quantitative assessments in HIA, exposure data is combined with risk
   data to estimate health outcomes. The ability to make quantitative assessments
   depends on whether the health effects literature is sufficiently well-developed to allow
   risks to be quantified. HIA does not generate the risk data; instead, it applies risk data
   that already exists.

   In the case of a highway project, for example, the changes in exposure can be
   reasonably well quantified using the EPA models used by FHWA to estimate the impact
   of Project emissions on compliance with the ambient air quality standards: i.e., the
   MOVES model for estimating emissions from traffic, and AERMOD to quantify expected
   concentrations in the community surrounding an existing facility and the proposed
   facility. The baseline exposure and expected future exposure can be compared to
   determine the likely change in exposure. For most pollutants regulated under the Clean
   Air Act, a large body of research has been published that EPA relies upon to set air
   quality standards,25 or to determine health risks.26

   When health impacts have not yet been related to quantitative risks, the inability to
   quantify impacts does not indicate that there will be no impacts, only that they cannot be

   25
      As the scientific basis for setting National Ambient Air Quality Standards (NAAQS), the Clean Air Act
   requires that EPA periodically review the science and publish its findings. 42 U.S.C. § 7408. EPA
   publishes an Integrated Science Assessment that comprehensively reviews the scientific research related
   to the health effects of the regulated pollutant published since the prior ISA.
   26
      For pollutants not governed by a NAAQS, EPA maintains the Integrated Risk Information System
   database that makes available information regarding the human health risks associated with exposure to
   toxic pollutants. Retrieved from: https://www.epa.gov/iris


                                                                                                        12
Case No. 1:17-cv-01661-WJM-MEH Document 116-5 filed 03/09/18 USDC Colorado pg 23
                                    of 31




   quantified using currently available risk data or with available methods. Qualitative
   assessment is used under these circumstances so that these impacts can be taken into
   account by decision makers, rather than having potentially significant impacts ignored
   for lack of quantification.

   For data gathered through quantitative or qualitative methods, the Practice Standards
   describe that the strength of the evidence should be rated:

                4.3.5 In summarizing the quality of evidence for each pathway, the HIA should
                rate the strength of evidence based on best practices for the relevant field (i.e.,
                standards for meta-analysis, epidemiologic studies, qualitative methods, or
                others as appropriate).
                4.3.6 Practitioners should acknowledge where evidence is insufficient to evaluate
                or judge health effects identified as priority issues in the screening and scoping
                stage of HIA.

         4.4 To support determinations of impact significance, the HIA should characterize health
         impacts using parameters such as (but not limited to) direction, severity, magnitude,
         likelihood, and distribution within the population. These can be understood as follows:
                 Direction: Whether the potential change would be beneficial or adverse
                 Severity: More severe effects include those that are disabling, life-threatening,
                 and permanent
                 Magnitude: How widely the effects would be spread within a population or across
                 a geographical area
                 Likelihood: How likely it is that a given exposure or effect will occur.

   The Practice Standards also describe that HIA should be explicit in identifying
   assumptions, strengths, and limitations of data and methods used:

         4.5 Assessment of health impacts should explicitly acknowledge methodological
         assumptions as well as the strengths and limitations of all data and methods used.
                4.5.1 The HIA should identify data gaps that prevent an adequate or complete
                assessment of potential impacts.
                4.5.2 Assessors should describe the uncertainty in predictions.
                4.5.3 Assumptions or inferences made in the context of modeling or predictions
                should be made explicit.
                4.5.4 Justification for the selection or exclusion of particular methodologies and
                data sources should be made explicit (e.g., resource constraints).
                4.5.5 The HIA should acknowledge when available methods were not utilized and
                why (e.g., resource constraints).
         4.6 The lack of formal, scientific, quantitative, or published evidence should not preclude
         reasoned evaluation of health impacts.




                                                                                                 13
Case No. 1:17-cv-01661-WJM-MEH Document 116-5 filed 03/09/18 USDC Colorado pg 24
                                    of 31




   A valuable feature of HIA relevant to the review of projects and programs under NEPA
   is that the health impacts of project alternatives, including a no-build option and any
   number of additional alternatives under consideration, can be compared. This allows
   decision makers to understand the health benefits and costs associated with each and
   relative to one another. This can extend to include evaluation of mitigation options under
   consideration for one or more alternative as well.

   HIAs on Transportation Projects
   More than 75 HIAs have been completed to date on transportation and transit projects
   in the US, across 22 states.27 These have covered a broad range of proposed projects
   and plans including, for example:

        ● The I-710 Expansion Project in Los Angeles, CA
        ● The State Route 520 Bridge Replacement Project in Seattle, WA
        ● Transportation plans, including regional transportation plans, goods movement
          plans, and corridor plans
        ● Public transportation plans
        ● Pedestrian and biking plans and projects
        ● Transportation policies, such as congestion pricing.

   The Gateway Cities Council of Governments and the Los Angeles County Metropolitan
   Transportation Authority, hired Human Impact Partners as a sub-consultant to conduct
   the HIA on the proposed I-710 Expansion Project, a project proposed by the California
   Department of Transportation.28 The HIA was completed in 2011 and examined the
   potential health impacts of five alternatives (one no-build alternative and four expansion
   alternatives) being considered in the combined Environmental Impact
   Assessment/Environmental Impact Review (EIRs are required under the California
   Environmental Quality Act). The HIA considered health impacts that could be affected
   by changes in the following determinants of health:

        ●   Mobility
        ●   Air quality
        ●   Noise
        ●   Traffic safety
        ●   Jobs and economic development
        ●   Access to neighborhood resources


   27
      Health Impact Project website. Retrieved from: http://www.pewtrusts.org/en/multimedia/data-
   visualizations/2015/hia-map
   28
      Human Impact Partners website. Retrieved from: https://humanimpact.org/wp-
   content/uploads/2017/09/HIA-I710-Air-Quality-Plan.pdf


                                                                                                    14
Case No. 1:17-cv-01661-WJM-MEH Document 116-5 filed 03/09/18 USDC Colorado pg 25
                                    of 31




   For each of these, during the Assessment phase of the HIA, HIP:

      ● Reviewed and summarized the public health and transportation literature
      ● Collected and/or summarized existing conditions data from many sources,
        including the EIS, other project-related documents, the U.S. Census, and county
        and state public agencies (e.g., public health departments and transportation
        departments)
      ● Conducted GIS mapping and analyses
      ● Analyzed several impacts quantitatively (e.g., excess mortality resulting from
        PM2.5 exposure; sleep disturbance resulting from noise)
      ● Analyzed a number of impacts qualitatively, including an analysis of the relative
        impacts of the various alternatives.

   For air quality in particular the HIA analyzed the following pollutants:

      ● Six Criteria Air Pollutants (ozone, particulate matter, carbon monoxide, nitrogen
        dioxide, sulfur dioxide, and lead)
      ● Six Mobile Source Air Toxics (benzene, 1, 3-Butadine, formaldehyde, acrolein,
        acetaldehyde, and diesel particulate matter)
      ● Greenhouse gases

   and the following health outcomes:

      ●   Asthma and Other Respiratory Diseases
      ●   Cardiovascular Disease
      ●   Cancer
      ●   Birth Outcomes (pre-term births, low-birth-weight births)
      ●   Premature Death and Mortality
      ●   Neurological Health Outcomes

   The HIA analyzed impacts on vulnerable populations and the effects of living proximate
   to a freeway.

   For each health outcome, the HIA summarized the:

      ● Impact = whether the alternative will improve, harm, or not impact health
      ● Magnitude = qualitative judgment of the size of the anticipated change in health
        effect (e.g., the increase in the number of cases of disease, injury, adverse
        events): Negligible, Minor, Moderate, Major.




                                                                                        15
Case No. 1:17-cv-01661-WJM-MEH Document 116-5 filed 03/09/18 USDC Colorado pg 26
                                    of 31




        ● Severity = the nature of the effect on function and life-expectancy and its
          permanence: intense/severe; moderate; not intense or severe.
        ● Strength of Causal Evidence = strength of the research/evidence showing causal
          relationship between the determinant of health and the health outcome: plausible
          but insufficient evidence; likely but more evidence needed; high degree of
          confidence in causal relationship.
        ● Uncertainties in the analysis.

   Based on those findings, the HIA made a set of recommendations for each determinant
   of health. These recommendations suggested actions that the transportation
   departments and other government agencies and elected bodies could take to improve
   health outcomes associated with the proposed project.

   An HIA on the I-70 Expansion Project
   In considering whether a project will benefit from an HIA, practitioners ask overarching
   questions at the outset of a potential project. Among those questions is whether there
   are data and research to do the Assessment step of HIA. There are clearly sufficient
   data available to conduct an HIA on the I-70 expansion proposal.

   In preparing this statement, I found the following data that could be used in an HIA:

        ● The CO Department of Transportation has already started analyzing the baseline
          conditions specific to the I-70 corridor, as described in a Motion to Stay and
          related replies specific to this project.29
        ● Historical information available through previous HIAs conducted in Denver as
          part of community planning processes (such as in the Globeville and Elyria-
          Swansea neighborhoods in 2014 - among the neighborhoods the proposed
          expansion directly affects).30
        ● Since the time those HIAs were completed, the city launched the Denver
          Neighborhood Equity Index. It is a tool that considers socioeconomic, built
          environment, and health conditions at a finer geographic level than was available
          previously. It aims to help decision makers consider and quantify access to
          opportunity in all decisions – coming from the understanding that all populations
          do not start from the same place and may need different supports to realize their
          full health potential.31

   29
      Zeppelin Plaintiffs’ et al APA § 705 Motion for Stay (ECF No. 32). Case no: 17-cv-1679-WJM-MEH.
   30
      City and County of Denver, Department of Public Health and Environment. (2018). Health Impact
   Assessment. Retrieved from: https://www.denvergov.org/content/denvergov/en/environmental-
   health/community-health/health-impact-assessment.html
   31
      City and County of Denver, Department of Public Health and Environment. (2017). Denver
   Neighborhood Equity Index. Retrieved from:


                                                                                                        16
Case No. 1:17-cv-01661-WJM-MEH Document 116-5 filed 03/09/18 USDC Colorado pg 27
                                    of 31




      ● Data on particulate matter concentration and Census data about how many
        people the expansion would directly affect, including who lives in those
        neighborhoods.32 This includes population exposure data previously submitted to
        the agencies in FEIS comments.33
      ● A robust literature in public health and related fields detailing how highways,
        related vehicle traffic and traffic density, and construction affect air quality and
        noise, and contribute to cumulative impacts that in turn alter physical, mental,
        and social aspects of health.

   An HIA could identify baseline adverse health outcomes related specifically to the
   existing freeway, as opposed to other factors that may shape health for communities
   living in close proximity to the expansion. It also could consider how health would be
   affected by various alternatives, such as no-build, building the freeway as currently
   proposed, and alternative routes (e.g., that could decrease traffic in the neighborhoods
   affected by the current I-70).

   Conclusion
   Health Impact Assessment is a well established tool, both internationally and in the U.S.
   HIAs are a tool recommended by federal agencies and that have been used specifically
   in transportation projects across the U.S., and in projects in Denver. They embody a
   systematic process that is guided by best practice standards and guidelines, as well as
   a set of core principles, and have contributed important information to decision-making
   processes. HIAs identify current health issues in the community that a proposal may
   affect, and then predict how they are likely change as the result of a proposal. They
   include positive and negative health outcomes likely to result from proposed project
   alternatives, and describe findings qualitatively and, in some cases, through quantitative
   methods. HIAs can account for trade-offs and recommend ways to move forward that
   better protect and promote health.

   Completing an HIA on the I-70 is feasible and would provide valuable information about
   impacts on community health not otherwise available to inform decision makers about
   the effects their decision will have on the human environment. HIAs have been done
   elsewhere on similar roadway expansion projects, expertise is available, and data exist.

   The I-70 planning process and community health would benefit substantially from a
   thorough analysis of potential health outcomes, and the health benefits that could be

   http://geospatialdenver.maps.arcgis.com/apps/MapJournal/index.html?appid=2f30c73e83204e96824a146
   80a62a18e
   32
      U.S. EPA Air Data. (2016). Retrieved from:
   http://aqsdr1.epa.gov/aqsweb/aqstmp/airdata/download_files.html#Annual
   33
     See Sierra Club FEIS comments, at I-70 East ROD 1: Phase 1 (Central 70), Attachment E, pp. 122-127.


                                                                                                     17
Case No. 1:17-cv-01661-WJM-MEH Document 116-5 filed 03/09/18 USDC Colorado pg 28
                                    of 31




   achieved by alternatives that would divert traffic and pollution from neighborhoods
   adjacent to I-70, and/or mitigation measures that reduce human exposure to health
   hazards to fulfill the informed decision making objectives of NEPA and §109(h) of the
   Federal-Aid Highway Act.




                                                                                           18
Case No. 1:17-cv-01661-WJM-MEH Document 116-5 filed 03/09/18 USDC Colorado pg 29
                                    of 31




   Appendix A

                                         Curriculum Vitae

                                        Jonathan C. Heller
                                     304 12th Street, Suite 2B
                                        Oakland, CA 94607
                                          (510)-452-9442
                                      jch@humanimpact.org
   Education
   University of California                                                        Berkeley, CA
   1993 - 1997. Ph.D., Biophysics.

   Harvard University                                                            Cambridge, MA
   1985 - 1989. B.A., Cum Laude, Applied Mathematics.

   Experience
   Human Impact Partners                                                 Co-Director & Co-Founder
   2006 – Present. HIP, a non-profit, is working to transform the policies and places people need
   to live healthy lives by increasing the consideration of health and equity in decision making.
   Through research, advocacy, and capacity building, HIP brings the power of public health
   science to campaigns and movements for a just society.

   Responsibilities
      ● Oversee and guide the organization and its strategic direction;
      ● Build relationships with partnering organizations including community organizations
         and public agencies;
      ● Built awareness among elected officials and the general public regarding the
         connections between health and policy;
      ● Guide HIP’s Health Impact Assessments (HIAs) and other public health research
         projects;
      ● Conduct HIA training and mentoring;
      ● Grant writing and other fundraising;
      ● Overseeing day-to-day operations of HIP and organizational development;
      ● Personnel management.

   Accomplishments
      ● Human Impact Partners has established itself as a nationally recognized authority in
        the field of Health Impact Assessment and has become known for our focus on equity
        and community empowerment;
      ● Built relationships and secured funding for carrying out HIAs and similar projects
        across the country and at the federal level;
      ● Built HIP to a staff of 13 FTEs;


                                                                                                19
Case No. 1:17-cv-01661-WJM-MEH Document 116-5 filed 03/09/18 USDC Colorado pg 30
                                    of 31




      ● Completed over thirty HIA and Health in All Policies projects on a variety of policies,
        including those related to criminal justice, economic security, education, and built
        environment;
      ● Influenced project, planning, and policy decisions in ways that will improve health and
        reduce inequities;
      ● Conducted over 25 HIA trainings and provided technical assistance to over 20
        organizations, nation-wide, conducting HIAs.

   Society of Practitioners of Health Impact Assessment (SOPHIA)                      President
   2011 – 2015. SOPHIA is an association of individuals and organizations providing leadership
   and promoting excellence in the practice of health impact assessment with world-wide
   membership. I helped found SOPHIA and served as its first President. SOPHIA currently has
   over 500 members and offers a variety of services to those members.

   Predicant Biosciences                          Vice President, Information and Project Planning
   2002 – 2005.

   SurroMed                                                                   Director, Informatics
   2000 – 2002.

   Exelixis
   1999 – 2000.                                                              Research Scientist II
   1998 – 1999.                                                              Research Scientist I
   1997 – 1998.                                                    Associate Research Scientist II

   Peace Corps, Papua New Guinea                                                      Volunteer
   1990 – 1992. Taught high school science and mathematics. Chaired science department.
   Supervised dormitories for 150 boarding students. Raised funds and initiated construction of
   school water supply. Had chloroquine-resistant malaria twice.

   Awards
   1993 – 1997. Howard Hughes Medical Institute Predoctoral Fellow
   1993. National Science Foundation Fellowship (declined)
   1987 and 1989. Harvard College Scholarship

   Selected Publications
   J. Heller, R. Larsen, A.C. Kolbert, M. Ernst, M. Baldwin, S.B. Prusiner, D.E. Wemmer, A.
   Pines. (1996) Application of rotational resonance to inhomogenously broadened systems.
   Chem. Phys. Lett., 251, 223.

   J. Heller, A.C. Kolbert, R. Larsen, M. Ernst, T. Bekker, M. Baldwin, S.B. Prusiner, A. Pines,
   D.E. Wemmer. (1996) Solid-state NMR studies of the prion protein H1 fragment. Protein
   Science, 5, 1655.




                                                                                                   20
Case No. 1:17-cv-01661-WJM-MEH Document 116-5 filed 03/09/18 USDC Colorado pg 31
                                    of 31




   J. Heller, D.D. Laws, M. Tomaselli, D.S. King, D.E. Wemmer, A. Pines, R.H. Havlin, E.
   Oldfield. (1997) Determination of dihedral angles in peptides through experimental and
   theoretical studies of a-carbon chemical shielding tensors. JACS, 119, 7827.

   J. Heller, A. Heller. (1998) On the loss of activity or gain in stability of oxidases upon their
   immobilization in hydrated silica: significance of the electrostatic interactions of surface
   arginine residues at the entrances of the reaction channels. JACS, 120, 4586.

   A.P. Sassi, F. Andel, H.M. Bitter, M.P. Brown, R.G. Chapman, J. Espiritu, A.C. Greenquist, I.
   Guyon, M Horchi-Alegre, K.L. Stults, A. Wainright, J.C. Heller, J.T. Stults. (2005) An
   automated, sheathless capillary electrophoresis-mass spectrometry platform for the discovery
   of biomarkers in human serum. Electrophoresis, 16, 1500.

   P. de Valpine, H.M. Bitter, M.P. Brown, J.C. Heller. (2009) A simulation-approximation
   approach to sample size planning for high-dimensional classification studies. Biostatistics. 10,
   424.

   E.C. Harris, A. Lindsey, J.C. Heller, K. Gilhuly, M. Williams, B. Cox, J. Rice. (2009) Humboldt
   County General Plan Update Health Impact Assessment: A Case Study. Environmental
   Justice, 2, 127.

   J.C. Heller, S. Satinsky, J. Lucky, B. Dennison. (2014) Where Health, Planning, and
   Community Empowerment Meet: A Rapid Health Impact Assessment Model and its
   Application in Los Angeles. Critical Planning, 21, 65.

   J.C. Heller, M.L. Givens, T.K. Yuen, S. Gould, M. Benkhalti Jandu, E. Bourcier, T Choi.
   (2014) Advancing Efforts to Achieve Health Equity: Equity Metrics for Health Impact
   Assessment Practice. Int. J. Environ. Res. Public Health, 11(11), 11054-11064.




                                                                                                      21
